Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20   PageID.126   Page 1 of 46



                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                         2:19-cr-20626-NGE-DRG
                  Plaintiff,
                                         MOTION TO DISMISS
-vs-                                     COUNTS 2–13 AND TO
EMANUELE PALMA,                          DISMISS IN PART COUNT 1

                  Defendant.             HON. NANCY G. EDMUNDS
                                     /
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.127    Page 2 of 46



      Defendant Emanuele Palma moves, pursuant to Federal Rule of Criminal

Procedure 12(b)(3), to dismiss Counts 2 through 13 of the Indictment against him,

and to dismiss a portion of Count 1, for failure to state an offense. This motion is

based on the supporting memorandum of law; the pleadings and records on file in

this matter; and such evidence and argument as may be presented prior to and at

the hearing on this motion.

      Pursuant to Local Rule 7.1(a), on June 26, 2020, Mr. Palma requested the

government’s concurrence in this motion, which the government declined to

provide.



Dated: July 8, 2020

                                              Respectfully submitted,

                                              /s/ Greg D. Andres
                                              GREG D. ANDRES
                                              (NY Bar No. 2845568)
                                              NEIL H. MACBRIDE
                                              (DC Bar No. 439137 )
                                              PAUL J. NATHANSON
                                              (DC Bar No. 982269)
                                              Davis Polk & Wardwell LLP
                                              450 Lexington Avenue
                                              New York, NY 10017
                                              (212) 450-4000
                                              greg.andres@davispolk.com




                                          2
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20   PageID.128   Page 3 of 46



                                          /s/ Kenneth M. Mogill
                                          KENNETH M. MOGILL
                                          (MI Bar No. P17865)
                                          Mogill, Posner & Cohen
                                          27 East Flint, 2nd Fl.
                                          Lake Orion, MI 48362
                                          (248) 814-9470
                                          kmogill@bignet.net

                                          Attorneys for Emanuele Palma




                                      3
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20   PageID.129   Page 4 of 46



                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,               2:19-cr-20626-NGE-DRG

                  Plaintiff,            MEMORANDUM OF LAW
                                        IN SUPPORT OF MOTION
-vs-
                                        TO DISMISS COUNTS 2–13
EMANUELE PALMA,                         AND TO DISMISS IN PART
                                        COUNT 1
                  Defendant.
                                     / HON. NANCY G. EDMUNDS
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.130    Page 5 of 46



                              ISSUES PRESENTED

   1. Whether the Court should dismiss Counts 2 through 7, which charge Mr.

      Palma with violations of the Clean Air Act based on alleged misstatements

      in Fiat Chrysler’s applications to regulators, where the Indictment fails to

      allege that Mr. Palma was responsible for those applications, fails to allege

      that Mr. Palma willfully caused his employer to make the alleged

      misstatements, and fails to identify the purported misstatement underlying

      three of the counts.

   2. Whether the Court should dismiss Counts 8 through 11, which charge Mr.

      Palma with wire fraud, where the Indictment does not allege a cognizable

      property interest as the object of the purported scheme to defraud under the

      Supreme Court’s recent decision in Kelly v. United States, 140 S. Ct. 1565

      (2020), and where three of the four charged communications were not made

      “in furtherance” of the alleged scheme.

   3. Whether the Court should dismiss Counts 12 and 13, which charge Mr.

      Palma with making false statements, where each count is based on a

      statement that is truthful on its face, even as alleged in the Indictment.

   4. Whether the Court should dismiss the first object of Count 1, which charges

      Mr. Palma with a conspiracy to commit wire fraud, where the alleged

      substantive offense does not constitute wire fraud as a matter of law.



                                          ii
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.131    Page 6 of 46



   STATEMENT OF AUTHORITY FOR RELIEF SOUGHT (LR 7.1(d)(2))

   1. The most appropriate authority for relief sought with respect to Counts 2

      through 7 is United States v. Landham, 251 F.3d 1072 (6th Cir. 2001), which

      provides that an Indictment must contain “such a statement of the facts and

      circumstances as will inform the accused of the specific offense, coming

      under the general description, with which he is charged,” id. at 1079; and

      United States v. Brown, 151 F.3d 476 (6th Cir. 1998), which provides that a

      defendant must act with “specific intent . . . to disobey or disregard the law”

      in order to be convicted of causing a false statement under 18 U.S.C. § 2, see

      Brown, 151 F.3d at 486.

   2. The most appropriate authority for relief sought with respect to Counts 8

      through 11 is Kelly v. United States, 140 S. Ct. 1565 (2020), which provides

      that wire fraud only reaches schemes to deprive victims of money or a

      cognizable property interest, id. at 1571; and United States v. Hartsel, 199

      F.3d 812 (6th Cir. 1999), which provides that a charged wire communication

      must be used to aid or further the purported scheme, id. at 818.

   3. The most appropriate authority for relief sought with respect to Counts 12

      and 13 is United States v. Gatewood, 173 F.3d 983 (6th Cir. 1999), which

      provides that a prosecution under 18 U.S.C. § 1001 cannot be predicated on

      a statement that “on its face is not false.” Gatewood, 173 F.3d at 987.



                                         iii
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20       PageID.132   Page 7 of 46



   4. The most appropriate authority for relief sought with respect to Count 1 is

      Kelly v. United States, 140 S. Ct. 1565 (2020), which recognizes that where

      there is no legally cognizable scheme to defraud, both the conspiracy count

      and underlying substantive offense should be dismissed. Id. at 1571 & n.1.




                                         iv
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20                                                  PageID.133              Page 8 of 46



                                                TABLE OF CONTENTS


PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 2
       A. Mr. Palma’s Work on the Subject Vehicles .................................................................... 2
       B.     The Regulatory Approval Process .................................................................................. 3
       C. Investigation of FCA ...................................................................................................... 6
       D. Indictment ....................................................................................................................... 7

LEGAL STANDARD ..................................................................................................................... 7

ARGUMENT .................................................................................................................................. 9
I.     COUNTS 2–7 FAIL TO ALLEGE FACTS THAT IN LAW CONSTITUTE AN
       OFFENSE. ............................................................................................................................ 10
II.    COUNTS 8–11 FAIL TO ALLEGE FACTS THAT CONSTITUTE WIRE FRAUD. ....... 15
       A. Counts 8–11 Fail To Allege a Cognizable Property Interest. ....................................... 16
               i.    Regulators ............................................................................................................. 17
               ii. FCA’s Customers .................................................................................................. 19
       B.     The Communications Charged in Counts 8, 9, and 11 Were Not Made “In
              Furtherance” of the Alleged Scheme. .......................................................................... 21
               i.    Count 8 .................................................................................................................. 23
               ii. Count 9 .................................................................................................................. 24
               iii. Count 11 ................................................................................................................ 26
III. COUNTS 12 AND 13 FAIL TO ALLEGE ESSENTIAL ELEMENTS OF A
     SECTION 1001 VIOLATION. ............................................................................................ 27
       A. Count 12 ........................................................................................................................ 30
       B.     Count 13 ........................................................................................................................ 32
IV. THE CONSPIRACY TO COMMIT WIRE FRAUD CHARGED IN COUNT 1
    SHOULD BE DISMISSED. ................................................................................................. 33

CONCLUSION ............................................................................................................................. 35




                                                                       v
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20                                     PageID.134           Page 9 of 46



                                        TABLE OF AUTHORITIES

                                                           CASES
                                                                                                                    PAGE(S)
Bryan v. United States, 524 U.S. 184 (1998) ............................................................................... 11
Carpenter v. United States, 484 U.S. 19 (1987) .......................................................................... 22
Cleveland v. United States, 531 U.S. 12 (2000) .................................................................... 17, 18
Coles v. Smith, 577 F. App'x 502 (6th Cir. 2014) .......................................................................... 8
Hamling v. United States, 418 U.S. 87 (1974) ........................................................................... 7, 8
Jones v. United States, 526 U.S. 227 (1999) ................................................................................. 7
Kann v. United States, 323 U.S. 88 (1944) .................................................................................. 24
Kelly v. United States, 140 S. Ct. 1565 (2020) .................................................................... passim
Parr v. United States, 363 U.S. 370 (1960) ................................................................................. 22
Russell v. United States, 369 U.S. 749 (1962) ............................................................................... 8
Schmuck v. United States, 489 U.S. 705 (1989) .......................................................................... 22
Toulabi v. United States, 875 F.2d 122 (7th Cir. 1989) ......................................................... 18, 20
United States v. Bobo, 344 F.3d 1076 (11th Cir. 2003) ............................................................... 33
United States v. Brown, 151 F.3d 476 (6th Cir. 1998) ................................................................. 13
United States v. Castile, 795 F.2d 1273 (6th Cir. 1986) .............................................................. 23
United States v. Cecil, 608 F.2d 1294 (9th Cir. 1979) ................................................................... 8
United States v. Craig, 401 F. Supp. 3d 49 (D.D.C. 2019) ......................................................... 29
United States v. Cunningham, 679 F.3d 355 (6th Cir. 2012) ....................................................... 15
United States v. Dipentino, 242 F.3d 1090 (9th Cir. 2001) ......................................................... 11
United States v. Frost, 125 F.3d 346 (6th Cir. 1997) ................................................................... 23
United States v. Gahagan, 881 F.2d 1380 (6th Cir. 1989) .......................................................... 30
United States v. Gatewood, 173 F.3d 983 (6th Cir. 1999) ................................................... passim
United States v. Hartsel, 199 F.3d 812 (6th Cir. 1999) ....................................................... passim



                                                              vi
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20                                                PageID.135             Page 10 of 46



 United States v. Hixon, 987 F.2d 1261 (6th Cir. 1993) ............................................................... 30
 United States v. Jones, 542 F.2d 661 (6th Cir. 1976) .................................................................... 9
 United States v. Kato, 878 F.2d 267 (9th Cir. 1989) ............................................................. 18, 20
 United States v. Keene, 959 F.2d 237 (Table), 1992 WL 68285 (6th Cir. Apr. 6, 1992) ............ 23
 United States v. Landham, 251 F.3d 1072 (6th Cir. 2001) ............................................................ 8
 United States v. Levin, 973 F.2d 463 (6th Cir. 1992) .................................................................... 9
 United States v. Manarite, 44 F.3d 1407 (9th Cir. 1995) ............................................................ 33
 United States v. Maze, 414 U.S. 395 (1974) ................................................................................ 21
 United States v. Murphy, 836 F.2d 248 (6th Cir. 1988) ............................................................... 18
 United States v. Rogers, 769 F.3d 372 (6th Cir. 2014) ................................................................ 33
 United States v. Sadler, 750 F.3d 585 (6th Cir. 2014) ................................................................. 17
 United States v. Schwartz, 924 F.2d 410 (2d Cir. 1991) .............................................................. 18
 United States v. Shurelds, 173 F.3d 430 (Table), 1999 WL 137636 (6th Cir. Mar. 2, 1999) ...... 11
 United States v. Smith, Criminal Action No. 3:08-cr-31-JMH, 2011 WL 2417051
    (E.D. Ky. June 13, 2011) ....................................................................................................... 23
 United States v. Steffen, 687 F.3d 1104 (8th Cir. 2012) .............................................................. 15
 United States v. Superior Growers Supply, Inc., 982 F.2d 173 (6th Cir. 1992) ........................ 7, 8
 United States v. Trie, 21 F. Supp. 2d 7 (D.D.C. 1998) ................................................................ 15
 United States v. Weimert, 819 F.3d 351 (7th Cir. 2016) .............................................................. 21
 United States v. Winchester, 407 F. Supp. 261 (D. Del. 1975) .................................................... 14

                                                          STATUTES & RULES
 18 U.S.C. § 2 .......................................................................................................................... 12, 13
 18 U.S.C. § 1001 .................................................................................................................. passim
 18 U.S.C. § 1343 .......................................................................................................................... 15
 40 C.F.R. § 86.1803–01 ................................................................................................................. 5
 40 C.F.R. § 86.1809–01 ................................................................................................................. 5
 40 C.F.R. § 86.1809–10 ................................................................................................................. 5



                                                                      vii
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20                                                PageID.136             Page 11 of 46



 40 C.F.R. § 86.1809–12 ................................................................................................................. 5
 42 U.S.C. § 7413 .................................................................................................................... 10, 11
 42 U.S.C. § 7522 ............................................................................................................................ 5




                                                                      viii
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.137     Page 12 of 46



                          PRELIMINARY STATEMENT

       The Indictment alleges that Mr. Palma, an engineer who calibrated vehicle

 engines for Fiat Chrysler, misled regulators, customers, and “the public” about the

 emission control system in two vehicle models, the Jeep Grand Cherokee and Ram

 1500 for Model Years 2014–2016. The Indictment charges Mr. Palma with

 conspiring to defraud the United States, violate the Clean Air Act, and commit

 wire fraud (Count 1); violating the Clean Air Act (Counts 2–7); committing wire

 fraud (Counts 8–11); and making false statements (Counts 12–13).

       For the reasons stated below, the Indictment is legally flawed. For the

 entirety of Counts 2 through 13, and a portion of Count 1, the Indictment either

 fails to allege an essential element of the charged offense or fails to allege facts

 that in law constitute an offense. Specifically, Counts 2 through 7 charge Mr.

 Palma with violations of the Clean Air Act based on alleged misstatements in Fiat

 Chrysler’s applications to regulators. But the Indictment fails to allege that Mr.

 Palma was responsible for those applications; fails to allege that Mr. Palma

 willfully caused his employer to make the alleged misstatements, as the relevant

 statute requires; and fails to identify the purported misstatement underlying three

 of the counts. Counts 8 through 11, which charge Mr. Palma with wire fraud, fail

 to allege a cognizable property interest as the object of the purported scheme to

 defraud—a defect made clear by the Supreme Court’s recent decision in Kelly v.
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.138    Page 13 of 46



 United States, 140 S. Ct. 1565 (2020). Moreover, three of the four charged

 communications were not made “in furtherance” of the alleged scheme, and

 therefore cannot support a wire fraud charge. Counts 12 and 13 charge Mr. Palma

 with making false statements, but each count is based on a statement that is truthful

 on its face, even as alleged in the Indictment. And, finally, the portion of Count 1

 alleging a conspiracy to commit wire fraud fails for the same reasons the

 substantive wire fraud counts fail: the Indictment does not allege a cognizable

 property interest as the object of the purported wire fraud scheme. Mr. Palma asks

 the Court to dismiss that portion of Count 1 and dismiss Counts 2 through 13.

                                  BACKGROUND

       A.     Mr. Palma’s Work on the Subject Vehicles

       Mr. Palma is an Italian citizen living with his family in Bloomfield Hills,

 Michigan, and working in the United States as a permanent resident alien. He

 moved to the United States at the request of his then-employer, VM Motori S.p.A.

 (“VM Motori”). By trade and education, he is an engineer who specializes in the

 calibration of diesel vehicle engines, see Indictment ¶ 4—that is, he refines the

 engine’s software and hardware to meet targets set by the vehicle’s manufacturer

 for safety, comfort, emissions, fuel economy, and other attributes.

       After completing college and graduate school in Bologna, Italy, Mr. Palma

 began working in 2007 for VM Motori, an Italian engine manufacturer. Id. ¶¶ 3–4.



                                           2
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20       PageID.139   Page 14 of 46



 VM Motori supplied diesel engines to automobile manufacturers around the world,

 including to Fiat Chrysler Automobiles (“FCA”);1 VM Motori became a wholly

 owned FCA subsidiary in 2013. Id. ¶ 3.

        In 2012, Mr. Palma moved to the Michigan office of VM Motori’s North

 American affiliate to work directly with FCA to develop and calibrate a new 3.0-

 liter diesel engine, which was used with the Model Year 2014–2016 versions of

 FCA’s Jeep Grand Cherokee and Ram 1500 vehicles (the “Subject Vehicles”).2

 See id. ¶¶ 4–7. Working with his customer, FCA, in Michigan, and with his VM

 Motori superiors in Italy, Mr. Palma and dozens of colleagues—some in Michigan,

 others at VM Motori’s headquarters in Cento, Italy—helped FCA calibrate and test

 the engines used in the Subject Vehicles. See id. ¶¶ 3–4. Mr. Palma was a VM

 Motori employee throughout the development of the Subject Vehicles; in June

 2016 he became an FCA employee. See id. ¶ 4.

        B.    The Regulatory Approval Process

        Under the Clean Air Act, automakers must apply for and receive a certificate


    1
      Fiat Chrysler Automobiles N.V.’s subsidiary in the United States, FCA US
 LLC, was formerly Chrysler Group LLC. Indictment ¶ 1. As does the Indictment,
 we use “FCA” to refer to both the parent company and its U.S. subsidiary (which
 was technically Chrysler Group LLC during some of the events described in the
 Indictment).
    2
     Mr. Palma previously lived in the United States for about two years while
 working on vehicles for General Motors.



                                          3
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.140       Page 15 of 46



 of conformity from the Environmental Protection Agency (“EPA”) for each model

 year of vehicle they wish to sell, which confirms that the vehicle complies with the

 relevant regulations, including emissions standards. Id. ¶¶ 13, 15. To sell vehicles

 in the state of California, automakers must also satisfy standards established by the

 California Air Resources Board (“CARB”), which issues its own compliance

 certificate, called an executive order. Id. ¶ 19.

       To satisfy the relevant emissions standards, each model year of vehicle must

 undergo a series of tests, or “cycles”—known as the “federal test procedures”—

 designed to measure emissions in different driving conditions. Id. ¶ 14. To

 administer these tests, an automaker places the vehicle on a “chassis dynamometer”

 (in essence, an automotive treadmill), which simulates driving conditions while

 allowing the automaker to measure tailpipe emissions and fuel consumption. Id.

 The automaker records the test results, certifies their authenticity, and submits

 them in its application for a certificate of conformity. See id. ¶¶ 14–15.

       An automaker’s application to regulators must also identify and explain each

 “Auxiliary Emission Control Device” (“AECD”) installed on the vehicle. Id. ¶ 16.

 An AECD is “any element of design which senses temperature, vehicle speed, . . .

 or any other parameter for the purpose of activating, modulating, delaying, or

 deactivating the operation of any part of the emission control system.” Id. There

 are many appropriate and necessary uses for AECDs, such as to protect the vehicle



                                            4
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.141    Page 16 of 46



 against damage or facilitate engine startup. See id. ¶ 17. But if the AECD does not

 serve one of these purposes and is not “substantially included in the federal test

 procedure,” and if the EPA determines that the AECD “reduce[s] the effectiveness

 of the emission control system under conditions which may reasonably be expected

 to be encountered in normal vehicle operation and use,” then the AECD is

 considered a “defeat device.”3 Id. Vehicles equipped with such a device cannot

 receive a certificate of conformity from the EPA. Id.

        Beginning in 2013, FCA sought, and ultimately received, the certificates of

 conformity and executive orders necessary to sell the Subject Vehicles. See id.

 ¶¶ 7, 21, 23. At this time, Mr. Palma was not an FCA employee, had no prior

 experience with U.S. emissions regulations, and had no responsibility for preparing

 the company’s certification applications. Accordingly, he performed his job based

 on the terms of VM Motori’s contract with FCA, relying on guidance and

 oversight from FCA’s “Regulatory Affairs” and “Certification” groups, both of

 which oversaw regulatory compliance. The Certification group decided whether

 calibration strategies were permissible, and the Regulatory Affairs group interacted

 with regulators, prepared certification applications, and reviewed and submitted the

    3
     These devices are so labeled because they “defeat, or render inoperative”
 vehicle components installed in compliance with Clean Air Act regulations, 42
 U.S.C. § 7522(a)(3)(B), and therefore violate federal law, see id.; 40 C.F.R. §§
 86.1803–01, 86.1809–01, –10, –12.



                                           5
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.142    Page 17 of 46



 final applications. Several communications cited by the government reference the

 Certification group, see, e.g., id. ¶¶ 45, 51, or the Regulatory Affairs group, see,

 e.g., id. ¶¶ 64, 65. But the Indictment itself avoids mentioning either group.

        C.    Investigation of FCA

        In September 2015, after news broke about improper emission-related

 conduct at Volkswagen,4 the EPA informed FCA that it would perform additional

 emissions testing on FCA’s vehicles. Id. ¶ 69. At FCA’s request, Mr. Palma

 worked with others at FCA beginning in late 2015 to provide regulators with data

 and materials as requested.

        On June 29, 2016, FCA representatives met with officials from the EPA,

 CARB, and Department of Justice to discuss regulators’ concerns. See id. ¶ 71.

 By then, FCA’s highest-ranking decision-makers were involved, and were

 represented by the company’s general counsel as well as outside counsel at Arnold

 & Porter LLP. Attorneys at Arnold & Porter prepared and delivered a PowerPoint

 presentation for the meeting, which had over thirty attendees. See id. ¶ 71.

 Approximately one month later, on August 3, 2016—shortly after Mr. Palma

 returned from visiting family in Italy—two federal agents, one each from the FBI
    4
      The Volkswagen emissions issues have had wide-ranging impacts on the
 automotive industry, including on regulators’ response in this case, as Mr. Palma
 anticipates the evidence will show. Even crediting all of the government’s
 allegations as true, FCA’s purported conduct is entirely unlike that with which
 Volkswagen was charged and to which it ultimately admitted.



                                            6
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.143     Page 18 of 46



 and EPA, confronted Mr. Palma at his home at 9:00 pm and questioned him for

 more than 90 minutes. See id. ¶ 104. That interview was recorded.

       D.     Indictment

       Three years later, the government indicted and arrested Mr. Palma. Broadly

 stated, the allegations against Mr. Palma involve three calibration strategies used in

 the Subject Vehicles: (i) modeled engine temperature, or “T_Eng,” which is a

 software function that adjusted “Exhaust Gas Recirculation” (“EGR”), one of the

 vehicles’ emission control systems; (ii) the “valve train cleaning routine,” which

 briefly halted EGR and used fresh air to burn off soot deposits; and (iii) “online

 dosing,” which adjusted a different emission control system, “Selective Catalytic

 Reduction” (“SCR”), under certain driving conditions. See id. ¶¶ 24, 30–31, 60.

 These strategies, the Indictment alleges, caused the Subject Vehicles to perform

 differently when driven in conditions reflected on the federal test procedures than

 when driven in conditions not reflected on the test procedures. Id. ¶ 34.

                                LEGAL STANDARD

       To survive a motion to dismiss, an indictment must allege every essential

 element of a charged offense. See Jones v. United States, 526 U.S. 227, 232

 (1999); Hamling v. United States, 418 U.S. 87, 117 (1974). Failure to allege an

 essential element renders the indictment defective. See United States v. Superior

 Growers Supply, Inc., 982 F.2d 173, 178 (6th Cir. 1992).



                                           7
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20           PageID.144     Page 19 of 46



       Likewise, “it is axiomatic that, to be legally sufficient, the indictment must

 assert facts which in law constitute an offense; and which, if proved, would

 establish prima facie the defendant’s commission of that crime.” United States v.

 Landham, 251 F.3d 1072, 1079 (6th Cir. 2001) (internal quotation marks and

 alteration omitted). Stating bare legal conclusions is not enough; the indictment

 “must descend to particulars to inform the defendant of the facts alleged with

 reasonable particularity of time, place, and circumstances.” Coles v. Smith, 577 F.

 App’x 502, 507 (6th Cir. 2014) (internal quotation marks omitted). Though an

 indictment may rely on statutory language, it must also contain “such a statement

 of the facts and circumstances as will inform the accused of the specific offense,

 coming under the general description, with which he is charged.” Hamling, 418

 U.S. at 117–18; see also Russell v. United States, 369 U.S. 749, 764 (1962).

       Where the government fails to allege an essential element of an offense or

 fails to allege facts that constitute an offense, dismissal is “the proper result,”

 Landham, 251 F.3d at 1080. Indeed, it is the only remedy in these circumstances;

 neither a bill of particulars, nor information supplied in discovery, cures a legally

 deficient indictment. See Russell, 369 U.S. at 770; Superior Growers Supply, 982

 F.2d at 177; United States v. Cecil, 608 F.2d 1294, 1296 (9th Cir. 1979).

       In considering whether to dismiss an indictment or particular counts, the

 court may consider extrinsic evidence where doing so is “necessary to decide the



                                             8
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.145    Page 20 of 46



 questions of law presented . . . so long as the court’s findings on the motion do not

 invade the province of the ultimate finder of fact.” United States v. Jones, 542

 F.2d 661, 664 (6th Cir. 1976); see also United States v. Levin, 973 F.2d 463, 470

 (6th Cir. 1992). The court should dismiss the indictment where such “undisputed

 extrinsic evidence” shows that the government, as a matter of law, cannot prove an

 element of the charged offense. Levin, 973 F.3d at 470.

                                    ARGUMENT

       The Court should dismiss Counts 2 through 13 and portions of Count 1.

 Counts 2 through 7 charge Mr. Palma with violations of the Clean Air Act based

 on alleged misstatements in FCA’s certification applications. But the Indictment

 fails to allege that Mr. Palma prepared or was responsible for these applications;

 fails to allege that Mr. Palma willfully caused his employer to make the alleged

 misstatements, as the relevant statute requires; and fails to identify the purported

 misstatements in Counts 2, 3, and 7.

       The wire fraud charges in Counts 8 through 11 fail because they do not

 allege a cognizable money or property interest as an object of the purported

 fraudulent scheme—a defect made clear by the Supreme Court’s Kelly decision,

 which was handed down after the instant Indictment was returned. See Kelly, 140

 S. Ct. at 1571. Moreover, three of the wire fraud counts do not charge a




                                            9
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.146   Page 21 of 46



 communication made “in furtherance” of the alleged scheme, and thus fail for this

 reason as well. See United States v. Hartsel, 199 F.3d 812, 816–17 (6th Cir. 1999).

          Counts 12 and 13 charge Mr. Palma with making false statements during the

 August 3, 2016 interview. But each count is “premised on a statement which on its

 face is not false.” United States v. Gatewood, 173 F.3d 983, 987 (6th Cir. 1999).

 Based on the Indictment itself, the statements were “literally and factually correct,”

 id. at 986, and thus, Counts 12 and 13 fail as a matter of law.

          Finally, the wire fraud conspiracy charged in Count 1 fails for the same

 reason the substantive counts fail: The Indictment does not identify a property

 interest that could support a wire fraud scheme. The portion of Count 1 alleging

 that Mr. Palma conspired to commit wire fraud should, therefore, also be dismissed.

 I.       COUNTS 2–7 FAIL TO ALLEGE FACTS THAT IN LAW
          CONSTITUTE AN OFFENSE.

          Counts 2 through 7 charge Mr. Palma with violating the Clean Air Act’s

 false statements provision, 42 U.S.C. § 7413(c)(2)(A), which prohibits

 “knowingly . . . mak[ing] any false material statement, representation, or

 certification in, or omit[ting] material information from,” documents filed under

 the Clean Air Act.5 The asserted basis for each count is one of six documents that



     Although the Clean Air Act imposes punishment on a “person who knowingly”
      5

 makes a false statement in an EPA submission, 42 U.S.C. § 7413(c)(2)(A), the Act
 excludes from the definition of “person” any “employee who is carrying out his
 (….continued)


                                            10
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20       PageID.147    Page 22 of 46



 FCA submitted to the EPA between December 2014 and March 2016 in support of

 its certification applications for the Subject Vehicles. See Indictment ¶ 97. The

 Clean Air Act counts should be dismissed for three independent reasons.

       First, the Indictment fails to allege how Mr. Palma—a calibrator, employed

 by FCA’s supplier, with no responsibility for vehicle certifications—“caused”

 FCA to submit regulatory disclosures. See id. ¶¶ 87–91, 93. The Indictment does

 not allege that Mr. Palma was responsible for these submissions; indeed, it

 concedes that FCA did not even employ Mr. Palma until June 2016, well after

 FCA had submitted all six of the documents. Id. ¶¶ 4, 97. Until that time, Mr.

 Palma worked for VM Motori, a supplier to FCA that eventually became its wholly

 owned subsidiary. Id. ¶¶ 3–4. As the Indictment also acknowledges, Mr. Palma

 “developed and calibrated diesel engines for use in FCA’s vehicles.” Id. ¶ 4. He

 was not part of FCA’s Regulatory Affairs or Certification groups, about which the


                                                                           (continued….)
 normal activities and who is acting under orders from the employer,” unless that
 employee’s violation was both “knowing” and “willful,” id. § 7413(h). The
 heightened mens rea standard in Section 7413(h) serves as an affirmative defense,
 United States v. Shurelds, 173 F.3d 430 (Table), 1999 WL 137636, at *2 (6th Cir.
 Mar. 2, 1999). If the court declines to dismiss Counts 2 through 7, the government
 must prove at trial that Mr. Palma—who fits squarely into the category of
 employees identified in Section 7413(h)—not only acted “knowingly,” but also
 with a “bad purpose,” that is, “with knowledge that his conduct was unlawful,”
 Bryan v. United States, 524 U.S. 184, 191–92 (1998) (defining willfulness); see
 also, e.g., United States v. Dipentino, 242 F.3d 1090, 1093 (9th Cir. 2001) (noting
 Section 7413(h)’s heightened willfulness standard).



                                          11
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.148    Page 23 of 46



 Indictment is silent. And the six certification applications themselves6 were

 authorized by employees in FCA’s Regulatory Affairs group.7 Mr. Palma’s name

 appears nowhere in any of these documents. Without an allegation that Mr. Palma

 was responsible for these submissions, or some indication of how he “caused”

 FCA to make the alleged misstatements, the Court should dismiss the charges.

        Second, the Indictment fails to allege that Mr. Palma willfully caused FCA

 to make the alleged false and misleading representations in its applications to

 regulators. Counts 2 through 7 hinge on 18 U.S.C. § 2, which requires that a

 defendant “willfully cause[]” the charged offense, id.; see Indictment ¶ 97

 (invoking 18 U.S.C. § 2); id. ¶¶ 87–91, 93 (alleging only that Mr. Palma “caused

 FCA to submit” the certification applications). To convict a defendant, under 18

 U.S.C. § 2, of causing another to make a false statement, the government must

    6
      The government provided the six documents in discovery and confirmed that
 they are the submissions to which the Indictment refers. Pursuant to the parties’
 stipulated protective order, which the Court entered on October 23, 2019, these and
 certain other documents cited in this motion have been filed under seal. See ECF
 no. 20 at p. 5, ¶ 9. Mr. Palma contacted the government and counsel for FCA to
 determine whether they had an objection to filing these exhibits under seal, and he
 did not receive any objection.
    7
       See Sealed Ex. 2 at 3 (Chrysler Grp. LLC 2014 Application for Certification)
 (listing eight such employees: Maureen M. Morgan, Rengin Usmen, Joseph P.
 Ryan, Jr., Paul E. Mendrick, Ellis Jefferson, Kelli Myers, Morrie Lee, and Jeffrey
 Stilman); Sealed Ex. 3 at 4 (FCA US LLC 2016MY Application for Certification)
 (listing same employees, minus Maureen M. Morgan, plus Jim Smith and Beth
 Borland); Sealed Ex. 7 at 3 (Chrysler Grp. LLC 2015MY Application for
 Certification) (listing same employees as Sealed Ex. 2).



                                          12
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.149    Page 24 of 46



 establish that the defendant acted “voluntarily and intentionally and with the

 specific intent to do something which the law forbids . . . that is to say, with bad

 purpose either to disobey or disregard the law.” United States v. Brown, 151 F.3d

 476, 486 (6th Cir. 1998). In Brown, the Sixth Circuit reversed a defendant’s

 convictions, which were predicated on 18 U.S.C. § 2 and 18 U.S.C. § 1001, where

 the defendant had no job training or responsibility for a certain procedure that was

 the basis of her false statement charges. See id. at 487. Here, likewise, Mr. Palma

 had no job training or responsibility for FCA’s regulatory-disclosure obligations.

 The government has alleged that Mr. Palma “knowingly” caused FCA to violate

 the Clean Air Act, Indictment ¶ 97. But it does not—and cannot—allege that he

 “willfully participate[d] in the commission of a crime,” as 18 U.S.C. § 2 requires,

 see Brown, 151 F.3d at 486. As a matter of law, therefore, Counts 2 through 7 fail

 to state an offense for this reason as well.

        Third, the Indictment does not identify the alleged false statements or

 omissions on which Counts 2, 3, and 7 are premised.8 These counts are based on

 FCA’s 2014, 2015, and 2016 certification applications, whereas Counts 4 through

    8
     The Indictment provides slightly more information about the purported
 misstatements underlying Counts 4, 5, and 6, and Mr. Palma therefore does not
 move to dismiss those counts on this basis. Because the Indictment’s general
 description of these counts could refer to a number of different statements in the
 voluminous submissions, however, Mr. Palma requests a bill of particulars with
 respect to these counts, as set forth in the accompanying motion.



                                            13
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.150    Page 25 of 46



 6 are based on the AECD lists that accompanied each application. See Indictment

 ¶ 97. The government identifies only a single statement that could support Counts

 2, 3, and 7—a lengthy excerpt, quoted in ¶ 22 of the Indictment, which appears in

 each of the underlying applications—but does not allege that this statement is false.

 Nor does the government identify any other statement that could serve as one of

 the allegedly “false and misleading representations” in the applications for

 certification. Id. ¶ 42.

         Such an omission is especially prejudicial given the nature of the documents

 in question. At 53 pages (Count 2), 149 pages (Count 3), and 154 pages (Count 7)

 in length, the documents contain detailed analysis of complex engineering concepts.

 See Sealed Ex. 2 (Count 2); Sealed Ex. 3 (Count 3); Sealed Ex. 7 (Count 7). As

 another district court concluded when facing analogous facts in United States v.

 Winchester, 407 F. Supp. 261 (D. Del. 1975), dismissal is appropriate in such

 circumstances, id. at 275–76 (dismissing false statement counts where government

 failed to identify allegedly false statements in government submissions). Here, as

 in Winchester, a bill of particulars “would not constitute a legally proper substitute

 for a definite statement concerning what the grand jury had charged.” Id. at 276.

 For this reason as well, Counts 2, 3, and 7 should be dismissed.9


     9
    Although Mr. Palma has also asked for a bill of particulars with respect to
 Counts 2, 3, and 7, he believes the appropriate remedy is dismissal. At the very
 (….continued)


                                           14
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20           PageID.151    Page 26 of 46



 II.   COUNTS 8–11 FAIL TO ALLEGE FACTS THAT CONSTITUTE
       WIRE FRAUD.

       Counts 8 through 11 charge Mr. Palma with violating the wire fraud statute,

 18 U.S.C. § 1343. A wire fraud charge requires the government to prove (1) “that

 the defendant devised or willfully participated in a scheme to defraud”; (2) “that he

 used or caused to be used an interstate wire communication in furtherance of the

 scheme”; and (3) “that he intended to deprive a victim of money or property.”

 United States v. Cunningham, 679 F.3d 355, 370 (6th Cir. 2012). Wire fraud

 charges must allege facts “with such reasonable particularity . . . as will . . . apprise

 [the defendant], with reasonable certainty, of the nature of the accusation.” United

 States v. Steffen, 687 F.3d 1104, 1113 (8th Cir. 2012) (alteration in original)

 (internal quotation marks omitted).

       The wire fraud charges against Mr. Palma are based on four emails

 involving communications among Mr. Palma and colleagues at VM Motori, FCA,

 and Arnold & Porter. Those emails, attached for the Court’s reference, are:

        Count 8: An October 1, 2014 email in which Mr. Palma forwarded to his
         VM Motori colleagues a short set of answers that FCA had provided to
         regulators regarding the valve train cleaning routine. See Indictment

                                                                               (continued….)
 least, however, a bill of particulars is necessary to provide Mr. Palma the
 information necessary to prepare his defense for trial. See United States v. Trie, 21
 F. Supp. 2d 7, 21 (D.D.C. 1998) (“A defendant faced with false statements charges
 should not have to waste precious pre-trial preparation time guessing which
 statements he has to defend against . . . .”).



                                            15
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.152    Page 27 of 46



            ¶ 102; Sealed Ex. 8 at 1. The recipients of Mr. Palma’s forwarded email
            were his superiors, Luca Sabbioni and Sergio Pasini, as well as five other
            colleagues: Michele Padovan, Matt Lipkowitz, Spencer Schipper, Luigi
            Martella, and Alessandro Mazza.

        Count 9: An October 3, 2014 email from Mr. Palma to Sergio Pasini, his
         supervisor at VM Motori, explaining why CARB would not be interested
         in seeing the original documentation in which FCA had approved the
         valve train cleaning routine. See Indictment ¶ 102; Sealed Ex. 9 at 1.

        Count 10: A December 1, 2015 email from Morrie Lee, who was a
         manager in FCA’s Regulatory Affairs group, to individuals from the EPA
         and CARB, as well as his colleague in Regulatory Affairs, Steve Mazure,
         with a set of answers to certain questions regulators asked about the
         Subject Vehicles. See Indictment ¶ 102; Sealed Ex. 10 at 1.

        Count 11: A June 24, 2016 email from Mr. Palma to Zachary Fayne and
         Thomas Santoro, two lawyers at FCA’s outside counsel, Arnold & Porter,
         that included a preliminary draft version of the PowerPoint presentation
         that Arnold & Porter would deliver at the June 29, 2016 meeting with
         regulators. See Indictment ¶ 102; Sealed Ex. 11 at 1.

       The wire fraud counts present two infirmities: The government fails to allege

 a cognizable money or property interest as an object of the alleged scheme, and

 three of the counts are based on communications that were not “in furtherance” of

 that alleged scheme. Counts 8 through 11 thus fail as a matter of law.

       A.      Counts 8–11 Fail To Allege a Cognizable Property Interest.

       As the Supreme Court reaffirmed this Term in Kelly, the wire fraud statute

 “prohibits only deceptive schemes to deprive [the victim of] money or property.”

 140 S. Ct. at 1571 (alteration in original) (internal quotation marks omitted). More

 is required than intentional misstatements or omissions: “Lightly equating


                                           16
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.153    Page 28 of 46



 deceptions with property deprivation” does not support a wire fraud conviction.

 United States v. Sadler, 750 F.3d 585, 591 (6th Cir. 2014); see also Kelly, 140 S.

 Ct. at 1568.

         Here, the Indictment does not specify what property Mr. Palma allegedly

 sought. Although the Indictment suggests two potential “victims” of the scheme—

 the government and FCA’s customers—neither supports a wire fraud charge.10

                i.   Regulators

         The Indictment alleges that one of the scheme’s purposes was to “make and

 cause others to make false and misleading representations to FCA’s Regulators in

 order to obtain regulatory approval to sell the Subject Vehicles.” Indictment ¶ 33;

 see also id. ¶¶ 40, 64. But the law is clear that regulatory approval—here,

 certificates of conformity from the EPA and executive orders from CARB—cannot

 constitute the relevant “property” under the wire fraud statute.

         In Cleveland v. United States, 531 U.S. 12 (2000), the Supreme Court

 considered whether “a government regulator parts with ‘property’ when it issues a

 license”—specifically, a gambling license, id. at 20. The Court concluded that

 “such a license is not ‘property’ in the government regulator’s hands” for purposes

 of the mail fraud statute, id., because the license implicated the government’s
    10
        The Indictment also refers to misstatements made to “the public,” ¶ 33, but
 fails to allege how any such misstatements are distinct from those purportedly
 made to FCA’s customers.



                                          17
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.154    Page 29 of 46



 power as a regulator, not as a property holder, id. at 23–24. In Kelly, the Supreme

 Court relied on and expanded this reasoning when it unanimously reversed wire

 fraud convictions premised on the closure of traffic lanes under false pretenses.

 See 140 S. Ct. at 1574. The Court reiterated that a government license “implicate[s]

 the Government’s role as sovereign”—specifically, its “power to regulate,” and

 “not its role ‘as property holder.’” Id. at 1572 (quoting Cleveland, 531 U.S. at 23–

 24). The Court analogized defendants’ conduct—“alter[ing] a regulatory decision

 about the toll plaza’s use”—to a decision “about which drivers had a ‘license’ to

 use which lanes,” and concluded that “under Cleveland, that run-of-the-mine

 exercise of regulatory power cannot count as the taking of property.” 140 S. Ct. at

 1573; see also id. at 1572 (citing Cleveland, 531 U.S. at 23).

       Multiple Circuits have reversed mail and wire fraud convictions in the

 licensing context. See, e.g., United States v. Murphy, 836 F.2d 248, 253–54 (6th

 Cir. 1988) (state government has no property interest in charity bingo licenses);

 United States v. Schwartz, 924 F.2d 410, 418 (2d Cir. 1991) (State Department’s

 issuance of arms export licenses is not property, for purposes of wire fraud statute,

 because it derives from government’s power to regulate); Toulabi v. United States,

 875 F.2d 122, 125–26 (7th Cir. 1989) (city government has no property interest in

 taxi licensing scheme); United States v. Kato, 878 F.2d 267, 269 (9th Cir. 1989)

 (scheme to defraud Federal Aviation Administration into issuing private pilot



                                          18
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.155    Page 30 of 46



 certificates to those unqualified did not affect government’s interest as a property

 holder, as required to support a mail fraud conviction).

       Here, regulators’ certificates of conformity and executive orders allowed

 FCA to sell diesel vehicles in the United States. Like arms export licenses, pilot

 licenses, and gambling licenses, licenses to sell vehicles represent the EPA’s and

 CARB’s powers to regulate. Thus, the government cannot sustain a wire fraud

 charge by casting EPA and CARB as victims: certificates of conformity and

 executive orders do not, as a matter of law, constitute property interests.

              ii. FCA’s Customers

       The Indictment also alleges that Mr. Palma made, and “cause[d] others to

 make false and misleading representations to FCA’s customers and the public in an

 effort to increase sales and promote the Subject Vehicles.” Indictment ¶ 33; see

 also id. ¶ 68. But any theory that relies on an alleged deprivation of money from

 customers also fails as a matter of law.

       The Indictment does not, and cannot, allege that Mr. Palma had any control

 over how the Subject Vehicles were marketed. During the relevant period, Mr.

 Palma worked as a calibration engineer at a supplier to FCA, see id. ¶¶ 3–4; he had

 nothing to do with how FCA, his multinational corporate customer, marketed its

 vehicles. The wire communications charged in Counts 8 through 11 are instructive

 in this regard. Each communication deals with calibration strategies; not one



                                            19
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.156    Page 31 of 46



 involves a communication to customers. In fact, the Indictment does not name a

 single act Mr. Palma took with respect to the Subject Vehicles’ marketing.

       The Indictment similarly fails to allege how Mr. Palma sought to obtain

 customers’ money. All the Indictment can muster is a vague assertion that Mr.

 Palma and his purported co-conspirators sought to “enrich themselves through the

 continued receipt of compensation and other benefits.” Indictment ¶ 33. But there

 is no allegation that Mr. Palma’s compensation varied depending on the amount of

 sales, just as there is no indication what the alleged “other benefits” might entail.

       At bottom, a wire fraud theory predicated on customer harm simply

 repackages the deficient government-license-as-property theory. Alleging that

 customers were defrauded because they purchased vehicles that regulators had

 approved based on incomplete information is a dressed-up version of the

 government’s first theory, in which government licenses constitute the relevant

 “property.” Under Kelly and its precursors, the customer-harm theory should fail

 as a matter of law. Otherwise, the government could evade the holdings of cases

 cited in the previous section through formalistic—but meaningless—modifications.

 Defendants who, for example, do not commit mail or wire fraud by defrauding

 regulators out of taxi or pilot licenses, see Toulabi, 875 F.2d at 125–26; Kato, 878

 F.2d at 269, could be convicted—on identical facts—for defrauding customers out




                                           20
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.157   Page 32 of 46



 of the right to have a properly licensed taxi driver or pilot. The government cannot

 bypass the case law with an arbitrary tweak of its theory.

       In light of the expansive statutory language, it is possible for the government

 to “stretch the reach of the mail and wire fraud statutes far beyond where they

 should go.” United States v. Weimert, 819 F.3d 351, 355 (7th Cir. 2016). Counts 8

 through 11 are examples of that overreach. The government is charging an

 engineer who had no involvement in marketing strategy with committing wire

 fraud against customers. This theory is unsupported on the face of the Indictment

 and under the law. But the consequences of that overreach are real: The wire fraud

 charges expose Mr. Palma to a potential twenty-year statutory maximum term of

 incarceration on each count, rather than the five- or two-year maximum that other

 charges bring. Because the Indictment does not, and the government cannot, allege

 a cognizable wire fraud theory, the Court should dismiss Counts 8 through 11.

       B.     The Communications Charged in Counts 8, 9, and 11 Were Not
              Made “In Furtherance” of the Alleged Scheme.

       Apart from the Indictment’s failure to allege a cognizable property interest

 in support of wire fraud, three of the four counts fail to allege a communication “in

 furtherance” of the alleged fraudulent scheme and fail as a matter of law for this

 reason as well. See United States v. Hartsel, 199 F.3d 812, 816 (6th Cir. 1999).

       A communication is not “in furtherance” of a fraudulent scheme where it is

 immaterial to the scheme’s success. See, e.g., United States v. Maze, 414 U.S. 395,


                                          21
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.158   Page 33 of 46



 402 (1974) (affirming reversal of mail fraud conviction where there was “no

 indication that the success of [defendant’s] scheme depended in any way on” the

 charged mailings); Parr v. United States, 363 U.S. 370, 393 (1960) (reversing mail

 fraud convictions where underlying communications were “immaterial” to “any

 consummation of the scheme”). The “relevant question at all times is whether” the

 communication “is part of the execution of the scheme as conceived by the

 perpetrator at the time,” Schmuck v. United States, 489 U.S. 705, 715 (1989).

         The Sixth Circuit has rejected mail fraud charges where, as here, the

 underlying communications were immaterial to the success of the alleged

 scheme.11 In United States v. Hartsel, for example, the defendant was convicted of

 mail fraud based on monthly bank statements for an account from which he

 embezzled funds. 199 F.3d at 814–15. Reversing this conviction, the Sixth Circuit

 observed that “the bank statements [must be] used in some way to aid or further the

 scheme before the mailing requirement is satisfied.” Id. at 818. Though the

 account was essential to the defendant’s scheme, and the mailings were incident to

 that account, “such a determination [did] not necessarily mandate the ultimate

 conclusion that the bank statements were used to aid or further the scheme.” Id.

 The outcome in Hartsel is not uncommon: The “in furtherance” requirement has

    11
      The analysis under the mail fraud statute is identical to that under the wire
 fraud statute. See, e.g., Carpenter v. United States, 484 U.S. 19, 25 n.6 (1987).



                                           22
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.159    Page 34 of 46



 repeatedly doomed mail fraud charges in the Sixth Circuit. See, e.g., United States

 v. Frost, 125 F.3d 346, 358–59 (6th Cir. 1997); United States v. Keene, 959 F.2d

 237 (Table), 1992 WL 68285, at *2 (6th Cir. Apr. 6, 1992); United States v. Castile,

 795 F.2d 1273, 1281 (6th Cir. 1986).

       The emails charged in Counts 8, 9, and 11, like the communications deemed

 immaterial in Castile, Keene, Frost, and Hartsel, could not have advanced the

 alleged fraudulent scheme and should be dismissed. Where, as here, “the

 indictment fails to set forth facts showing that the [charged communication] . . .

 furthered the fraudulent scheme alleged,” dismissal of the wire fraud counts is the

 appropriate remedy. See United States v. Smith, No. 3:08-cr-31-JMH, 2011 WL

 2417051, at *3 (E.D. Ky. June 13, 2011).

              i.   Count 8

       Under no interpretation did the charged communication in Count 8 “aid or

 further” the alleged scheme. See Hartsel, 199 F.3d at 818. There, Mr. Palma

 forwards to his colleagues information provided to CARB earlier that day, writing:

       This message closes the first round of questions around this topic, we should
       get the [executive order] either Friday or Monday. This doesn’t mean the
       topic is closed, I expect more questions and probably another call in the
       coming days.

       Waiting for the “big one” in California…

 See Sealed Ex. 8 at 1 (Email from Emanuele Palma to Luca Sabbioni, Sergio

 Pasini, et al. (Oct. 1, 2014, 5:49 PM)); Indictment ¶¶ 85, 102. The forwarded


                                          23
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20          PageID.160    Page 35 of 46



 email was from an FCA engineer (Dan Hennessy) to two members of FCA’s

 Regulatory Affairs group (Steve Mazure and Ellis Jefferson) with information

 provided to CARB about the valve train cleaning routine. Sealed Ex. 8 at 1.

       The purported fraudulent scheme is that Mr. Palma allegedly lied to

 regulators and customers. But the communication charged in Count 8 is an email

 in which Mr. Palma forwards answers already given to regulators. Even under the

 government’s theory, which assumes that the information provided to CARB

 contained misstatements, Mr. Palma could not have furthered the alleged scheme

 by forwarding these answers to his colleagues after the fact. See Kann v. United

 States, 323 U.S. 88, 94 (1944) (to support mail fraud charge, communication must

 be “used prior to, and as one step toward, the receipt of the fruits of the fraud”).

 The charged wire likewise could not have “served any useful step, purpose, or role

 in furthering the [alleged] scheme,” see Hartsel, 199 F.3d at 818.

              ii. Count 9

       Count 9 should be dismissed for the same reasons as Count 8. The charged

 communication appears at the end of a long email thread regarding FCA’s

 application for a Model Year 2015 executive order from CARB. Mr. Palma

 appears nowhere on the first three pages of chronologically ordered messages (of

 four total). The bulk of the thread contains a discussion among high-ranking

 members of FCA’s leadership and Regulatory Affairs groups; the topic was the



                                           24
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.161    Page 36 of 46



 valve train cleaning routine, specifically in connection with an information request

 from CARB. See Sealed Ex. 9 at 1–2 (Email from Emanuele Palma to Sergio

 Pasini (Oct. 3, 2014, 6:19 AM), following thread among Larry Nowak, Bob Lee,

 et al.). Larry Nowak, FCA’s platform manager for diesel engines, forwarded the

 thread to Mr. Palma and Mr. Palma’s supervisor at VM Motori (Sergio Pasini),

 among others, and wrote: “FYI, this is the update that I provided Bob Lee this

 evening on our AECD rejection. We need to better describe the conditions under

 which EGR is shut off and have test data showing the emissions impact of the EGR

 shut off.”12 Id. at 1. In response, Mr. Pasini suggested locating the documentation

 in which VM Motori had explained—and FCA had authorized—the valve train

 cleaning routine. Id. Mr. Palma responds, in Italian, that CARB does not care

 about FCA’s approval, before observing: “it’s not that you can drive around Los

 Angeles with a closed egr because you have a weak valvetrain! Especially if you

 don’t even know how much more you’re polluting.” Id. That is, Mr. Palma was

 explaining that CARB would not be interested in whether FCA had given approval

 for VM Motori, its supplier, to use the valve train cleaning routine in the Subject

 Vehicles; the only relevant consideration was the strategy’s emissions impact.




    12
     Bob Lee was the global head of Powertrain for FCA, and one of the
 company’s highest-level executives.



                                          25
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.162    Page 37 of 46



       As with Count 8, the charged communication in Count 9 could not have

 “served any useful step, purpose, or role in furthering the [alleged] scheme.” See

 Hartsel, 199 F.3d at 818. Here, as in Hartsel, the charged communication did not

 deceive the authorities, conceal misconduct, or otherwise facilitate the alleged

 scheme. Even if one accepted the government’s characterization of the email—

 that Mr. Palma was “describing the valve train cleaning routine,” see Indictment

 ¶ 102—it is clear on the face of the document that such a routine communication

 could not have furthered an alleged fraudulent scheme. Because the charged

 communication in Count 9 was not in furtherance of the alleged scheme, this count

 fails as a matter of law.

              iii. Count 11

       Count 11 suffers from the same defect as Counts 8 and 9. The

 communication charged in Count 11 is an email from Mr. Palma to two lawyers at

 Arnold & Porter, attaching revisions to the PowerPoint presentation that Arnold &

 Porter had prepared for the upcoming June 29, 2016 meeting with regulators. See

 Sealed Ex. 11 at 1 (Email from Emanuele Palma to Zachary Fayne and Thomas

 Santoro (June 24, 2016, 12:02 PM)). The Indictment alleges that, during the June

 29 meeting, “numerous false and misleading representations which were contained

 within the PowerPoint Presentation were given to FCA’s Regulators,” and that Mr.

 Palma had “assisted in the preparation” of the presentation, “including by drafting



                                          26
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20           PageID.163    Page 38 of 46



 specific slides.” Indictment ¶ 71. But the Indictment avoids alleging that Mr.

 Palma himself authored the allegedly misleading statements, or that FCA’s lawyers,

 either in its General Counsel’s office or at Arnold & Porter, were co-conspirators.

 FCA’s lawyers at Arnold & Porter—not Mr. Palma—were responsible for the

 representations made to regulators. And, as the defense understands, the purported

 misstatements were not contained in the slides Mr. Palma drafted. Because the

 Indictment fails to allege that Mr. Palma prepared these statements, or that any of

 the lawyers involved in the communication were co-conspirators, this email was

 not “necessary to the success” of the alleged scheme, or otherwise in furtherance of

 it. See Hartsel, 199 F.3d at 816–17. Count 11 therefore fails to state an offense.

 III.     COUNTS 12 AND 13 FAIL TO ALLEGE ESSENTIAL ELEMENTS
          OF A SECTION 1001 VIOLATION.

          Counts 12 and 13 charge Mr. Palma with making false statements in

 violation of 18 U.S.C. § 1001(a). See Indictment ¶ 104. These charges stem from

 the interview conducted by two federal agents at Mr. Palma’s home on the evening

 of August 3, 2016. See id. The attached draft transcript of the interview, provided

 to the defense by the government,13 reveals that Mr. Palma was sleeping on his


     13
       While Mr. Palma cites to the transcript for purposes of this motion, he does
 not stipulate to its accuracy. In one key discrepancy, for instance, in the recording
 agents seemingly attempt to reassure Mr. Palma that he will not be punished for
 failing to remember the details of meetings and discussions from long ago: “And
 we’re not, we’re not . . . this isn’t like a, I’m holding it [mumbles] . . . I don’t mean
 (….continued)


                                            27
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20            PageID.164     Page 39 of 46



 couch when the agents rang his doorbell—a fact the agents observed while peering

 through his window—since he had recently returned from a two-week trip to Italy.

 See Sealed Ex. 12 at 1 (VD: “Is he looking out the door?” GR: “He’s laying on the

 couch.”); id. at 1, 25 (stating that his family was still in Italy and, later, that he was

 “still in” Italian time). Over the course of one hour and forty-five minutes, the

 agents asked Mr. Palma technical questions about the calibration of the Subject

 Vehicles and his understanding of emissions regulations and standards.14 The

 transcript makes clear that the agents had a poor command of the subject matter,

 asking Mr. Palma at one point to describe sophisticated calibration issues as though

 he were speaking to a child. See id. at 6. As noted, government regulators had

 already received a detailed presentation regarding the calibration strategies in the

 Subject Vehicles just a month prior, at the June 29, 2016 meeting with FCA’s

 outside counsel, Arnold & Porter.


                                                                                (continued….)
 to . . . yeah.” But in the corresponding transcript page, the agent’s reassurances are
 missing: “And we’re not, this isn’t like a . . . I don’t mean to . . . So we appreciate
 that and we’re just asking you what you remember. And we also recognize it was
 4-5 years ago.” Sealed Ex. 12 (Transcript of Aug. 3, 2016 Interview with
 Emanuele Palma (Case No. 0506-0093)) at 22 (ellipses in original). In one other
 instance, agents assured Mr. Palma that a detail in his answer was “not something
 we’re gonna hold you to.” Id. at 3.
    14
       Mr. Palma did not have a lawyer present, nor was he informed of his right to
 legal counsel. When Mr. Palma asked whether he should have a lawyer present,
 the agents responded only by saying that “we deal with lots of lawyers,” and
 continued the questioning. Sealed Ex. 12 at 15.


                                             28
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.165    Page 40 of 46



         To state an offense under the relevant provision of Section 1001(a), the

 government must allege a statement that is false “on its face.”15 United States v.

 Gatewood, 173 F.3d 983, 987 (6th Cir. 1999). A false statement prosecution under

 Section 1001 “cannot be based on an ambiguous question where the response may

 be literally and factually correct.” Id. at 986. In Gatewood, the defendant

 submitted an invoice to the Navy with a signed certification stating that “to the best

 of [his] knowledge and belief, . . . [p]ayments to [his] subcontractors and suppliers

 ha[d] been made from previous payments received under the contract.” Id. at 984–

 85 (alteration in original). In a superseding indictment, the government charged

 the defendant under Section 1001, alleging that although he certified having made

 payments to his subcontractors and suppliers, he “well knew he had not made full


    15
       Counts 12 and 13 of the Indictment quote statutory language from both 18
 U.S.C. § 1001(a)(1) and (a)(2). See Indictment ¶ 104. The government’s factual
 allegations, however, only contemplate an alleged violation of Section 1001(a)(2),
 which proscribes knowingly and willfully “mak[ing] any materially false, fictitious,
 or fraudulent statement[s] or representation[s]” in a matter within the jurisdiction
 of the federal government. The charged statements in Counts 12 and 13 can only
 be construed as alleged false statements under Section 1001(a)(2)—not as a “trick,
 scheme, or device” under Section 1001(a)(1).
    If the government does in fact intend to prosecute the charged statements under
 Section 1001(a)(1), Counts 12 and 13 fail for a different reason. To state an
 offense under Section 1001(a)(1), the government must allege that “the defendant
 had a duty to disclose material information,” United States v. Craig, 401 F. Supp.
 3d 49, 62–63 (D.D.C. 2019). Because the Indictment fails to allege this essential
 element, Counts 12 and 13 are legally deficient to the extent they are predicated on
 Section 1001(a)(1).



                                           29
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.166   Page 41 of 46



 payments” to them. Id. at 985. On appeal, the Sixth Circuit concluded that the

 indictment “present[ed] a false dichotomy, because certifying that one has made

 payments to subcontractors is not inconsistent with having yet to pay the

 subcontractors in full.” Id. at 987. Because the indictment was “premised on a

 statement which on its face [was] not false,” the court held that the indictment

 failed to allege an offense and was therefore fatally defective. Id.

       Gatewood is not an outlier: The Sixth Circuit has reversed other convictions

 under Section 1001 where the defendant’s alleged false statement “was, on its face,

 not a false representation.” United States v. Hixon, 987 F.2d 1261, 1266, 1267 (6th

 Cir. 1993) (defendant’s representation that he was not self-employed did not

 constitute a false statement, because he was technically employed by a

 corporation—“a distinct legal entity”—of which he was the sole owner and

 employee); United States v. Gahagan, 881 F.2d 1380, 1383 (6th Cir. 1989)

 (defendant’s representation that he did not own a vehicle was not a false statement,

 because he had transferred title before making the representation).

       A.     Count 12

       Like the charge in Gatewood, Count 12 is premised on a statement that is not

 false “on its face.” Count 12 charges Mr. Palma with falsely stating that “one of

 the reasons” T_Eng was introduced “was to contain soot emissions and resolve

 ‘engine shudder.’” Indictment ¶ 104. The attached draft transcript illustrates that



                                           30
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.167     Page 42 of 46



 the charged statement arose from the following exchange, in which the agents

 explicitly asked Mr. Palma to simplify a complex engineering topic:

       Agent 1:      First of all, I’m not an engineer, so talk to me like you’re
                     explaining to your kid what you do at work.

       Agent 2:      Yeah, or your neighbor. Your kid might not get it, but yeah.
       Agent 1:      What does daddy do? And what is this T_ENG function?

       Agent 2:      And when we say genesis, I guess, what was the origin, like
                     how does it come about? Why was it first introduced?

       Palma:        Why it was introduced? The reasons why it was introduced
                     were multiple. On the one hand, there was a need to . . . one of
                     the problems with this engine that we had when we were
                     developing the calibrations for this engine was . . . soot
                     emissions and a problem that we called engine shudder.

 Sealed Ex. 12 at 6 (ellipses in original). It is clear from the Indictment that Mr.

 Palma’s answer—T_Eng was introduced in part to address soot and engine

 shudder—was a true statement. As the government explains, Mr. Palma and his

 colleagues noticed that “an accumulation of soot deposits” on the Subject Vehicles’

 valve stems generated “engine shudder” that “caused the vehicles to noticeably

 shake.” Indictment ¶ 61. Reducing the EGR rate—precisely what T_Eng did—

 “corrected the shudder problem.” Id. Based on the government’s own allegations,

 Mr. Palma’s answer was “literally and factually correct,” Gatewood, 173 F.3d at

 986, and Count 12 therefore fails as a matter of law.




                                           31
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20         PageID.168    Page 43 of 46



       B.     Count 13

      The same analysis shows that the statement charged in Count 13 was also

 “literally and factually correct,” see id. Mr. Palma made the statement referenced

 in that count, italicized below, in response to a question he was asked about the

 T_Eng function, to which he responded:

       “[A]t the end of the day, this calibration works the same all the time, so
       doing an FTP75 [a certain federal test procedure cycle] in the lab, doing an
       FTP75 on the road, doing two FTP75s one after another, this calibration was,
       this calibration would always work. . . . So there was never an attempt to
       calibrate in way [sic] that there is a cycle recognition and when the cycle is
       over, well, there is no longer an emissions control.”
 Sealed Ex. 12 at 14; see Indictment ¶ 104. The transcript shows that Mr. Palma

 was using the term “cycle recognition” to mean that “when the cycle is over . . .

 there is no longer an emissions control.” That statement is true: It was not the case

 that when the test cycle was over there were no longer emission controls. Stated

 differently, some emission controls remained in place when the test cycle was over.

 Even the Indictment alleges that, in off-cycle conditions, the T_Eng function

 merely resulted in a “lower [] EGR rate,” id. ¶ 37, and that online dosing “reduced

 the DEF dosing rate” used in the SCR, another component of the emissions system,

 id. ¶ 39. Accepting the facts alleged on the face of the Indictment as true, the

 charged statement—that “there was never an attempt to calibrate the Subject

 Vehicles in a way that there was ‘cycle recognition’ and when the ‘cycle’ is over

 there were no longer emissions controls,” id. ¶ 104—is “literally and factually


                                           32
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.169    Page 44 of 46



 correct.” Because Mr. Palma’s statement cannot support a Section 1001

 prosecution, Count 13 should also be dismissed.

 IV.   THE CONSPIRACY TO COMMIT WIRE FRAUD CHARGED IN
       COUNT 1 SHOULD BE DISMISSED.

       Finally, the Court should dismiss the third object of Count 1, which charges

 a conspiracy to commit wire fraud. The wire fraud conspiracy fails for the same

 reason the substantive wire fraud counts fail: The Indictment does not allege a

 cognizable property interest that could support a wire fraud charge.

       To establish a conspiracy to commit wire fraud, the government must prove

 that the defendant and at least one other person agreed to commit the elements of

 wire fraud. See United States v. Rogers, 769 F.3d 372, 377 (6th Cir. 2014).

 Although a conspiracy to commit wire fraud is a different offense from a

 substantive violation of the wire fraud statute, where there is no legally cognizable

 scheme to defraud, both the substantive offense and the conspiracy count should be

 dismissed. See Kelly, 140 S. Ct. at 1571 n.1 (reversing wire fraud conspiracy

 convictions where purported scheme did not aim to obtain money or property,

 adding: “If there was property fraud here, there was also conspiracy to commit it.

 But if not, not”); United States v. Bobo, 344 F.3d 1076, 1086 (11th Cir. 2003)

 (“Where the scheme to defraud alleged in the substantive count is not sufficient to

 state an offense, a conspiracy count based upon the charge must also be found

 deficient.”); United States v. Manarite, 44 F.3d 1407, 1414 (9th Cir. 1995)


                                          33
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20        PageID.170    Page 45 of 46



 (reversing conspiracy convictions where substantive mail and wire fraud objects

 “were legally insufficient to be federal offenses”).

       For the reasons explained supra Part II, the Indictment fails to allege a

 scheme to defraud. FCA’s regulators cannot be the “victims” of the purported

 scheme, because government licenses do not constitute “property” for purposes of

 a fraudulent scheme. Kelly, 140 S. Ct. at 1572–73. Nor is it viable to argue that

 the scheme was predicated on alleged misrepresentations to customers. Tellingly,

 none of the 18 overt acts alleged in the Indictment involve a communication to

 customers, or even a communication to someone responsible for communicating

 with customers—just as none of the four charged wires involve a customer

 communication. See Indictment ¶¶ 77–95. Because the Indictment fails to allege a

 conspiracy to commit wire fraud, the third object of Count 1 should be dismissed.




                                           34
Case 2:19-cr-20626-NGE-DRG ECF No. 33 filed 07/08/20       PageID.171   Page 46 of 46



                                  CONCLUSION

       For the reasons set forth above, Counts 2 through 13 of the Indictment

 should be dismissed, and the Court should dismiss the third object of Count 1.


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                                              Respectfully submitted,

                                              /s/ Greg D. Andres
                                              GREG D. ANDRES
                                              (NY Bar No. 2845568)
                                              NEIL H. MACBRIDE
                                              (DC Bar No. 439137 )
                                              PAUL J. NATHANSON
                                              (DC Bar No. 982269)
                                              Davis Polk & Wardwell LLP
                                              450 Lexington Avenue
                                              New York, NY 10017
                                              (212) 450-4000
                                              greg.andres@davispolk.com

                                              /s/ Kenneth M. Mogill
                                              KENNETH M. MOGILL
                                              (MI Bar No. P17865)
                                              Mogill, Posner & Cohen
                                              27 East Flint, 2nd Fl.
                                              Lake Orion, MI 48362
                                              (248) 814-9470
                                              kmogill@bignet.net

                                              Attorneys for Emanuele Palma




                                         35
